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                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
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     MASIMO CORPORATION,                     ) Case No. 8:20-cv-00048-JVS-JDE
21   a Delaware corporation; and             )
     CERCACOR LABORATORIES, INC.,            )
22   a Delaware corporation                  ) MASIMO’S REPLY TRIAL
                                             ) MEMORANDUM REGARDING
23                Plaintiffs,                ) APPLE OPENING THE DOOR TO
                                             ) PREVIOUSLY EXCLUDED
24         v.                                ) EVIDENCE REGARDING APPLE’S
                                             ) HIRING
25   APPLE INC., a California corporation    )
                                             ) Hon. James V. Selna
26                Defendant.                 )
                                             )
27
28                         REDACTED VERSION OF DOCUMENT
                           PROPOSED TO BE FILED UNDER SEAL
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1                                     I. INTRODUCTION
2          Masimo submits this Reply in support of its request that the Court allow
3    Masimo to introduce previously excluded evidence. Masimo seeks permission to
4    present evidence that Apple (1) systematically targeted Masimo employees beyond
5    O’Reilly and Lamego, and (2) recruited Masimo employees to obtain Masimo’s
6    confidential information. Masimo responds first to the arguments in Apple’s brief and
7    then identifies exhibits and lines of questions Masimo seeks to present.
8          II. APPLE ARGUES THE MERITS WITHOUT ADDRESSING THE
9            ARGUMENTS AND TESTIMONY THAT OPENED THE DOOR
10         Apple largely ignores the bulk of Masimo’s opening brief and instead argues for
11   Apple’s preferred interpretation of the evidence.         Apple’s merits arguments are
12   irrelevant.   If anything, Apple’s arguments suggest the Court should allow the
13   previously excluded evidence because Apple is confident the jury will agree with
14   Apple when all the evidence is considered.
15         Late last week, Apple solicited evidence from its first witness, Steven Hotelling,
16   expressly denying that Apple pursued any strategy listed in “Project Everest” for
17   engaging Masimo, including acquiring Masimo’s people. That testimony was, at a
18   minimum, misleading and incomplete. Immediately following the Project Everest
19   presentation, Hotelling exchanged emails regarding
20                                               JTX-2070. Apple ultimately did hire many
21   other Masimo employees. Thus, Hotelling’s testimony that Apple did not acquire
22   Masimo’s people is misleading at best.
23         Apple argues that hiring additional Masimo employees “has absolutely nothing
24   to do with the trade secret theories in this case or, indeed, any other claim in this case.”
25   Dkt. at 2:13-14; see also, id. at 4-7. Apple is wrong. Masimo introduced evidence that
26                                                                  , Apple considered various
27   options for obtaining Masimo’s technology, and Apple hired two C-level executives.
28   Masimo seeks to introduce evidence showing that Apple

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2    This evidence supports the inference that Apple intended to obtain Masimo’s
3    confidential information through Masimo’s employees. It also rebuts any argument
4    that Apple did not know it was obtaining confidential information through O’Reilly or
5    Lamego. Excluding this evidence would be particularly unfair in view of Apple’s
6    Trial Brief on jury instructions, which argues the evidence so far comes “nowhere near
7    meeting Plaintiffs’ burden to show intent.” Dkt. 1607 at 2. The Court recognized such
8    evidence was at least relevant under Rule 402. See Dkt. 1469 at 4.
9          Apple also argues it “has been scrupulous in avoiding any reference to
10   [Masimo’s other] former employees who now work at Apple[.]” Dkt. 1599 at 3:14-15;
11   see also, id. at 7-12. But Apple and Hotelling falsely suggested there are no such
12   people and Apple did not target Masimo employees. Thus, Masimo should be allowed
13   to introduce corrective evidence.
14         Apple argues Masimo “waived the right to raise any objection now” because
15   Masimo did not object earlier. Dkt. 1599 at 11. But Masimo is not objecting that the
16   testimony Apple elicited is inadmissible.        Rather, Masimo argues that Apple has
17   sufficiently misled the jury that Masimo should have the opportunity to respond with
18   corrective evidence that the Court preliminarily excluded. Apple is correct that it
19   began misleading the jury in its Opening Statement and continued in its cross-
20   examination of Masimo’s witness. The cumulative effect required corrective action
21   after Apple’s first witness, Hotelling, falsely denied that Apple implemented the
22   Project Everest plan to acquire Masimo’s people.
23         Apple further suggests that Masimo waited too long because Apple made some
24   of the arguments at issue before the parties resolved the “smart recruiting” issue. See
25   Dkt. 1599 at 7:7-10. Apple never explains how any of the arguments it presented
26   relate to Cook’s “smart recruiting” email or why Apple would have needed to present
27   preemptive evidence during Masimo’s case-in-chief. Regardless, the issue is not when
28   Apple first indicated it would unfairly use the motion in limine as a sword and a shield.

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1    Hotelling’s denial came after “smart recruiting” was resolved and Masimo promptly
2    raised this issue. Apple cannot seriously argue that Masimo was untimely by raising
3    this issue before Apple’s first witness finished testifying and before he was excused.
4          Apple also argues that Masimo introduced the “Project Everest” presentation.
5    See id. at 7:19-8:25. But the presentation is not the issue. It is Hotelling’s false
6    testimony regarding the presentation that necessitates allowing Masimo to introduce
7    contrary evidence. Apple argues “Hotelling’s testimony is entirely consistent with that
8    reading of the slide.” Id. at 9:3-4. How to interpret the presentation is a contested
9    issue of fact for the jury to decide.
10         Apple also disputes the relevance of Apple’s interview processes and hiring
11   practices. See id. at 9-12. Again, the evidence Masimo seeks to introduce supports the
12   inference that Apple intended to obtain Masimo’s trade secret information by
13   targeting, interviewing, and hiring Masimo employees. Apple incorrectly asserts “this
14   Court has found that this type of testimony would be irrelevant[.]” Not so. The Court
15   agreed such evidence “could give rise to an inference of plan, intent, etc., … .” See
16   Dkt. 1469 at 4. The Court excluded Masimo’s evidence under Rule 403. Id.
17         As set forth below, Masimo seeks leave to introduce exhibits and solicit
18   testimony regarding Apple’s recruiting of Masimo employees that is directly relevant
19   to Masimo’s claims, and Apple’s denials, of trade secret misappropriation.
20             III. MASIMO’S RESPONSE TO APPLE’S FALSE DENIALS
21   A.    Need For Corrective Evidence
22         Masimo explained in its opening brief that Apple opened the door to evidence
23   regarding Apple’s recruiting.      Apple showed the October 2013 “Project Everest”
24   presentation to Hotelling, and elicited testimony from him denying that Apple pursued
25   any listed option. One option he denied pursuing was “[a]cquisition of Cercacor
26   and/or Masimo (or people or assets)[.]” JTX-263 at -776 (emphasis added). Apple
27   asked Mr. Hotelling:
28         Q. Did Apple ultimately pursue any of the engagement options identified

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1               on this slide with Masimo?
2          A. No, we did not.
3    Trial Tr., April 13, 2023, at 121:6-8.
4          That testimony was far from the “whole truth.” Mr. Hotelling relied on a fine
5    distinction between a “formal merger or acquisition” of a “team” and
6                                                                                     Apple
7    claims that “Hotelling’s testimony was entirely consistent with that basic distinction.”
8    Dkt. 1599 at 9:10-11 (emphasis added). It is unlikely the jury recognizes that “basic”
9    distinction.
10         In discussing evidence that Apple hired Masimo employees based on their
11   willingness to disclose confidential information, Apple argues “[t]he jury would surely
12   be surprised to have this issue surface only at this late stage of the trial—and could
13   conclude (wrongly) that Apple had hid something from them.” Dkt. 1599 at 10:6-7.
14   Apple is exactly right that the jury would surely be surprised to find out that Apple
15   targeted and acquired many Masimo people, starting immediately after the Project
16   Everest presentation. Apple’s fear that, upon hearing additional evidence, the jury
17   could conclude that Apple “hid something” is exactly why this evidence is so
18   important. The currently excluded evidence would correct a misleading record that
19   Apple intentionally created by improperly using the motion in limine ruling as a sword
20   and a shield.
21         The jury should be allowed to hear the truth. Exhibits and lines of questions
22   Masimo seeks leave to pursue to correct this misleading testimony are described
23   below.
24   B.    Proposed Corrective Evidence
25         1.        Further Cross With Hotelling
26         JTX-664/2070 (versions of the same email chain). This email chain began
27   immediately after the Everest meeting, and continues from October-December 2013,
28   with the subject line                                 See JTX-664. The email chain

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1    shows that—less than a week after the “Project Everest” presentation—Apple
2                                                                                    . Masimo
3    should be allowed to confront Hotelling with this email chain.
4           JTX-260. Masimo seeks permission to question Hotelling regarding additional
5    pages of the previously admitted “Rover” slide deck.             See JTX-260 (previously
6    admitted). The slide at production number -9120 shows that Hotelling was the directly
7    responsible individual for Apple’s decision to designate Masimo as a “High” priority
8    “Recruiting target.”
9           JTX-165. Masimo seeks permission to question Hotelling regarding an email
10   chain that Lamego sent to Hotelling with the subject line                            See
11   JTX-165. In the email chain, Lamego pushes Apple to
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13
14                                                          JTX-165 at -716.
15          JTX-1786.1. Masimo seeks permission to question Hotelling regarding Apple’s
16   interrogatory response identifying Masimo employees that Apple hired (in addition to
17   O’Reilly and Lamego). Masimo may ask him to confirm that Apple hired at least:
18       Cercacor employee                                 to work on the ECG feature for the
19          Apple Watch;
20       Masimo employee                                                           to work on
21          the design of studies related to Apple Watch, including desaturation studies and
22          oxygen saturation studies;
23                           to work on clinical trials;
24                         to work on sensor features of the Apple Watch; and
25                            to develop technology for the Apple Watch directed to sleep
26          monitoring, sleep detection, and sleep-related pathologies, including the
27          algorithm for sleep/wake detection in the Apple Watch.
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1           2.   Further Cross With O’Reilly
2           JTX-511. Masimo seeks permission to question O’Reilly regarding an email
3    chain from July 2013. O’Reilly told Apple recruiter Denby Frazier (Sellers):
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9    Masimo should be allowed to confront O’Reilly about
10
11          3.   Upcoming Cross with Block
12          JTX-176. Masimo seeks permission to question Block regarding a May 2014
13   email chain regarding Masimo employee                   . See JTX-240. In the email
14   chain, Block wrote that he asked
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18                                                   See id. at -9695-96. Block wrote that
19
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21                                                                  Apple then declined to
22   hire           Masimo should be allowed to ask Block
23                                                   impacted Apple’s decision not to hire
24
25          4.   On Rebuttal with Kiani
26          JTX-768.   Masimo seeks permission to question Kiani during his rebuttal
27   testimony regarding an email chain from July 2013 about Apple’s efforts to recruit
28   Masimo employees. See JTX-768. In the first email, a recruiter with Hotelling’s team

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1    contacted Masimo employee                          . The recruiter asked if        was
2    interested, or knew anyone who might be interested, in three engineering opportunities
3    at Apple.            forwarded the email to other Masimo employees and said “[t]hey are
4    starting to pick….” Kiani later forwarded the email to Lamego and said: “[b]e careful
5    with your team.       Look at what apple is doing.”     Lamego responded: “Will do.
6    Obrigado amigo!”        Masimo may ask Kiani whether this prompted his email to
7    O’Reilly about his concerns about Apple raiding Masimo and his call with Perica
8    about the same subject.
9           JTX-771.      Masimo seeks permission to question Mr. Kiani regarding his
10   July 2013 email exchange with O’Reilly, where O’Reilly expressed that Apple’s
11   executive recruiter appreciated Kiani’s concerns and would look into it.
12       IV. BALANCING UNDER RULE 403 NOW FAVORS ADMISSIBILITY
13          The Court found Masimo’s evidence “could give rise to an inference of plan,
14   intent, etc., … .” See Dkt. 1469 at 4. However, the Court excluded such evidence
15   under Rule 403. See id.
16          Since then, Apple took advantage of the Court’s ruling and presented affirmative
17   testimony that falsely suggested Apple’s efforts to acquire Masimo’s people ended
18   with the Project Everest presentation. Apple also argued that Apple had no plan or
19   intent to obtain Masimo’s confidential information by recruiting Masimo employees.
20   Apple placed the excluded evidence at issue by offering testimony that is inconsistent
21   with the excluded evidence. The Rule 403 balancing test now weighs in favor of
22   admissibility. Apple should not be allowed to present an incomplete and misleading
23   story to the jury.
24                                      V. CONCLUSION
25          Accordingly, Masimo should be allowed to present the evidence outlined above.
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1                                     CERTIFICATE OF COMPLIANCE

2               The undersigned, counsel of record for Plaintiffs’ Masimo Corp. and Cercacor
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